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 1 JASON R. FLANDERS (Bar No. 238007)
   Email: jrf@atalawgroup.com
 2 ERICA A. MAHARG (Bar No. 279396)

 3 Email: eam@atalawgroup.com
   J. THOMAS BRETT (Bar No. 315820)
 4 Email: jtb@atalawgroup.com
   AQUA TERRA AERIS LAW GROUP
 5 8 Rio Vista Ave.
   Oakland, CA 94611
 6 Telephone: (916) 202-3018

 7
   DREVET HUNT, SBN 240487
 8 Email: dhunt@cacoastkeeper.org
   CALIFORNIA COASTKEEPER ALLIANCE
 9 1100 11th Street, 3rd Floor
   Sacramento, CA 95814
10
   Telephone: (415) 606-0864
11
   Attorneys for Plaintiff
12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,                Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                    DECLARATION OF AUSTIN SUTTA IN
19 vs.                                             SUPPORT OF PLAINTIFF'S MOTION
                                                   FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION dba                        COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                   Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                   Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                 Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated          Hon. Sean Riordan
   February 6, 2002,
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25
                           Defendants.
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      DECLARATION OF AUSTIN SUTTA ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
      Case 2:20-cv-01703-SCR            Document 189-6         Filed 04/18/25      Page 2 of 3


 1          I, Austin Sutta, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I was an associate

 5   attorney with Aqua Terra Aeris (“ATA”) Law Group, from November 2020 through June 2022,

 6   representing California Coastkeeper Alliance (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9   unless otherwise stated; if called to testify as a witness, I could and would competently testify

10   thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.       My 2024 rate for attorney work in the Los Angeles/Orange County area market is
13   $755 per hour. My 2024 rate for paralegal work in the Los Angeles/Orange County area market is
14   $285 per hour. Given my experience, skill, and reputation, my rates requested herein are
15   reasonable.
16          5.       The 2025 rate for the Eastern District of California requested herein is $480 per hour.
17          6.       I graduated from University of Oregon with a degree in Sociology in 2007 and then
18   graduated from University of San Francisco’s School of Law in 2014. After passing the bar exam, I
19   served as general counsel for Green Planet 21, Inc. for almost five years, while operating my own
20   practice from June 2016 to March 2019. I then worked at Crowell & Moring, LLP as an associate
21   from April 2019 to October 2020. I joined ATA in November 2020 and worked there until June
22   2022. At present, I am again serving as General Counsel for Green Planet 21, Inc.
23      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE
24          7.       My main contribution to this litigation occurred in and around January 2022, when I
25   researched the requirements for pleading informational injury in the standing context and then
26   helped to draft that section of Plaintiff’s Second Amended Complaint.
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       DECLARATION OF AUSTIN SUTTA ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
      Case 2:20-cv-01703-SCR           Document 189-6        Filed 04/18/25      Page 3 of 3


 1          8.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

 2   records that document the time that I spent on this case. I personally and contemporaneously kept

 3   these records using computer timekeeping software documenting the hours I worked on this case.

 4
            I declare, under penalty of perjury under the laws of the United States that the foregoing is
 5
     true and correct. Executed on the Twenty Third day of March 2025 in Oakland, California.
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                                                                         Austin Sutta
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       DECLARATION OF AUSTIN SUTTA ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
